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8                            UNITED STATES DISTRICT COURT
9                           CENTRAL DISTRICT OF CALIFORNIA
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                                                  Case No.: 5:21-cv-00091-AB (SPx)
12    MERCER DAVIES,
13
                      Plaintiff,
                                                  ORDER DISMISSING CIVIL
14                                                ACTION
      v.
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      TENNECO, INC., et al.,
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                      Defendant.
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           THE COURT has been advised by counsel that the above-entitled action has
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     been settled.
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           IT IS THEREFORE ORDERED that this action is hereby dismissed without
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     costs and without prejudice to the right, upon good cause shown within forty-five (45)
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     days, to re-open the action if settlement is not consummated. This Court retains full
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     jurisdiction over this action and this Order shall not prejudice any party to this action.
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26   Dated: November 29, 2021         _______________________________________
                                      HON. ANDRÉ BIROTTE JR.
27                                    UNITED STATES DISTRICT JUDGE
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